IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Case No. 18-cr-00389-RBJ

UNITED STATES OF AMERICA,
Plaintiff,

v.

2. ANTHONY SANCHEZ,

Defendant.

 

STATEMENT BY DEFENDANT IN ADVANCE OF GUILTY PLEA

 

| acknowledge and certify that | have been advised of and understand the
following facts and rights, that all representations contained in this document are
true and correct, and that my attorney has assisted me as | have reviewed and

completed this document.

1. The nature of the charges against me have been explained to meby my
attorney. | have had an opportunity to discuss with my attorney both the nature of the
charges and the elements which the government is required to prove.

2. | know that when the Court sentences me, the Court will consider
many factors. These factors are listed in 18 U.S.C. § 3553 and include (a) the
nature and circumstances of the offense and my personal history and
characteristics, (b) the need for a sentence to reflect the seriousness of the offense,
promote respect for the law, provide just punishment, afford deterrence, protect the

public, and provide me with needed training, care or correctional treatment in the

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most effective manner, (c) the kinds of sentences available to the court, (d) the
advisory sentencing guidelines established by the U.S. Sentencing Commission, (e)
the pertinent policy statements of the U.S. Sentencing Commission, (f) the need to
avoid unwarranted sentence disparity among defendants with similar records who
have been found guilty of similar conduct, and (g) the need to provide restitution. No
single factor is controlling or determinative. | recognize that it is possible that the
Court could, after considering these factors, impose any sentence in my case,
including one which is as severe as the maximum term of imprisonment, the
maximum fine, full restitution, the maximum term of supervised release, and a
special assessment, all as set out in paragraph 3 below.

3. | know that the following penalties may be imposed as a result of my
guilty plea to COUNT TEN OF THE INDICTMENT; a violation of 20 U.S.C. § 1097(a)
(2012), student loan fraud.
Imprisonment for a term of not more than 5 years;
A term of supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583;
A fine of not more than $20,000, pursuant to the statute that | admit | violated and/or
the alternative fine schedule set out at 18 U.S.C. § 3571;
Restitution to the victim(s) of my crime of $61,131.95 pursuant to 18 U.S.C. §§ 3663,
3663A, and 3664;
A special assessment of $100.00, pursuant to 18 U.S.C. § 3013;

4. | know that if | am convicted of more than one count, the sentences
imposed may be either concurrent (served at the same time) or consecutive (served

separately or back-to-back) unless the statutory penalty for an offense of conviction
expressly requires that a sentence be imposed to run consecutively.

5. | know that in addition to any punishment that the Court may impose,
there are collateral consequences to pleading guilty to a crime. These consequences
are neither imposed nor controlled by the Court. For example, pleading guilty may
result in a loss of civil rights, including but not limited to the rights to possess firearms,
vote, hold elected office, and sit on a jury. And, if | am not a citizen of the United
States, these consequences may include deportation from the United States or
indefinite confinement if there is no country to which | may be deported, denial of the
right to enter the United States in the future, and denial of citizenship.

6. | know that if | am given a term of supervised release as a part of my
sentence, that supervised release will only begin to run upon my release from
custody on all terms of imprisonment imposed by this and any other courts. |
understand that any violation of the conditions of that supervised release during its
term may lead to an additional prison sentence and additional supervised release
beingimposed.

7. | know that there is no parole in the federal system and that | will be
required to serve the entire sentence of imprisonment which may be imposed in
my case, reduced only by such good time and/or program allowances as may be

setby Congress and applied by the Bureau of Prisons.

8. | know that if a fine or restitution is imposed as a part of my sentence, |
will be required to pay interest on any amount in excess of $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment or

unless interest is waived by the Court.
9. | know that if a fine or restitution is imposed as a part of my sentence, |
will be required to pay it in a timely manner. Failure to do so may trigger monetary
penalties, collection efforts by the government, potential revocation of any probation
or supervised release, and/or exposure to prosecution for “Criminal Default” under 18

U.S.C. § 3615.

10. | know that | can be represented by an attorney at every stage of the
proceedings in this matter, and | know that, if | cannot afford an attorney, one will
be appointed to represent me at no cost or expense tome.

11. | know that | have a right to plead “not guilty;” and | know that if | do
plead “not guilty,” | can persist in that plea and demand atrial.

12. | know that | have a right to and can demand a trial by jury, and |

know that if | choose to stand trial:

a. | have a right to the assistance of an attorney at every stage ofthe
proceeding;

b. | have a right to see and observe the witnesses who testify against
me;

C. My attorney can cross-examine all witnesses who testify against
me;

d. | can call and present such relevant witnesses and evidence as |

desire, and | can obtain subpoenas to require the attendance and testimony of those
witnesses,
e. If | cannot afford to pay witness fees and expenses, the

government will pay those fees and expenses, including mileage and travel expenses,
and including reasonable fees charged by expert witnesses;

f. | cannot be forced to incriminate myself and | do not have to testify
at any trial;

g. However, | can testify at my trial if | choose to, and | do not have to |
decide whether or not to testify until after | have heard the government's evidence
against me;

h. If | decide that | do not want to testify at trial, the jury will be told
that no guilt or inference adverse to me may be drawn from my decision not to testify;

i. In order for me to be convicted, the government must prove each
and every element of the offense with which | am charged, beyond a reasonable doubt;

j. In order for me to be convicted, the jury must reach a unanimous
verdict of guilty, meaning all jurors must agree that | am guilty; and

k, If | were to be convicted, | could appeal both my conviction and
whatever sentence the Court later imposed, and if | could not afford an appeal, the
government would pay the cost of the appeal, including the cost of an appointed

attorney. |

13. | know that if | plead guilty, there will not be a trial of any kind.

14. | know that if | plead guilty, there will be no appellate review of the
question of whether or not !| am guilty of the offense to which | have pled guilty.

15. | know that the terms of my plea agreement with the government
contain a waiver of my right to appeal or to collaterally attack the sentence.
Specifically, | have agreed to waive my right to challenge this prosecution, conviction,

or sentence in any collateral attack (included but not limited to, a motion brought
under 28 U.S.C. § 2255). Because of this, | know that | cannot seek appellate review
of the sentence imposed by the Court in this case, except in the limited
circumstances permitted by paragraphs 4 and 5 of my plea agreement.

16. | No agreements have been reached and no representations have been
made to me as to what the sentence in this case will be, except those which are
explicitly detailed in the document entitled “Plea Agreement” which | and the
government have signed. | further understand that any sentencing agreements and
stipulations in the document entitled “Plea Agreement’ are binding on the Court only
if the parties ask the Court in that document to be so bound pursuant to Rule
11(c)(1)(C) and only if the Court agrees to be so bound when it accepts my guilty
plea(s).

17. | The only plea agreement which has been entered into with the
government is that which is set out in the document entitled “Plea Agreement”
which has been signed by the government and me and which | incorporate herein
by reference.

18. | understand that the Court will make no decision as to what my sentence
will be until a Presentence Report has been prepared by the Probation Department
and received and reviewed by the Court.

19. 1 know that when | enter my plea of guilty, the Court may ask me
questions under oath about the offense to which | have pled guilty. Such questions, if
asked of me on the record and in the presence of my attorney, must be answered by
me, and if | give false answers, | can be prosecuted for perjury.

20. _| know that | have the right to ask the Court any questions that |
have concerning my rights, these proceedings, and my plea(s) to the charge(s).

21. tam 3 0 years of age. My education consists of high (cohol gre od

| CAN understand the English language. | am not taking any medications which interfere
with my ability to understand the proceedings in this matter or which impact or affect my
ability to choose whether to plead guilty.

22. Other than the promises of the government set out in the document
entitled “Plea Agreement,” no promises and no threats of any sort have been made
to me by anyone to induce me or to persuade me to enter my plea in thiscase.

23. | Noone has promised me that | will receive probation, home
confinement or any other specific sentence desired by me because of my plea of
guilty.

24. |have had sufficient opportunity to discuss this case and my intended
plea of guilty with my attorney. | do not wish to consult with my attorney any further
before | enter my plea of guilty.

25. lam satisfied with my attorney. | believe that | have been
represented effectively and competently in this case.

26. My decision to enter the plea of guilty is made after full and careful
thought, with the advice of my attorney, and with full understanding of my rights, the
facts and circumstances of the case, and the potential consequences of my plea of
guilty. | was not under the influence of any drugs, medication, or intoxicants which
affect my decision-making ability when | made the decision to enter my guilty plea. |
am not now under the influence of any such drugs, medication or intoxicants.

27. | want to plead guilty and have no mental reservations about my
decision.

28. Insofar as it shows my conduct, the summary of facts set out in the
document entitled “Plea Agreement” is true and correct, except as | have indicated
in that document.

29. | know that | am free to change or delete anything contained in this
document and that | am free to list my objections and my disagreements with anything
contained in the document entitled “Plea Agreement.” | accept both documents as
they are currently drafted.

30. __| wish to plead guilty to the following charge:

Count Ten of the Indictment, 20 U.S.C. § 1097(a) (2012). Student Loan Fraud.

Dated this 2x day of LY 2019.

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‘Anthony, anchéz
Defendant
